Case 8:18-cv-01519-JAK-PLA Document 149 Filed 12/09/19 Page 1 of 1 Page ID #:8188


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES − GENERAL

  Case No.     8:18−cv−01519−JAK−PLA                             Date    12/9/2019
  Title        KAJEET, INC. V. QUSTODIO, LLC

  Present    The Honorable JOHN A. KRONSTADT, UNITED STATES DISTRICT
             JUDGE

                 Andrea Keifer                             Not Reported
                 Deputy Clerk                        Court Reporter / Recorder


       Attorneys Present for Plaintiffs:         Attorneys Present for Defendants:
                 Not Present                                Not Present


  Proceedings:        (IN CHAMBERS) ORDER DISMISSING CASE WITHOUT
                      PREJUDICE (JS-6)

  In light of the parties’ Notice of Settlement, the Court orders that this action is
  dismissed without prejudice. The Court retains jurisdiction to vacate this Order and
  to reopen the action within 60 days from the date of this Order, provided, however,
  any request by any party(ies) that the Court do so, shall make a showing of good
  cause as to why the settlement has not been completed within the 60-day period,
  what further settlement processes are necessary, and when the party(ies) making
  such a request reasonably expect the process to be concluded. This Order does
  not preclude the filing of a stipulation of dismissal with prejudice pursuant to Fed.
  R. Civ. P. 41, which does not require the approval of the Court. Such stipulation
  shall be filed within the aforementioned 60-day period, or by such later date
  ordered by the Court pursuant to a stipulation by the parties that conforms the
  requirements of a showing of good cause stated above.


                                                                                     :00
                                                              Initials of Preparer: ake




  CV−90                           − CIVIL MINUTES−GENERAL −                      Page 1 of 1
